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                                                       Party Candidates


   No Party Candidates

             To become a no party candidate in the General Election, an individual
  must submit his or her petition signatures with the appropriate filing officer by August 1, 2016.

  Only recognized parties in West Virginia may nominate candidates for the General Election in the
  Primary Election or by convention. Citizens who want to run independently or under the banner of a
  minor party must petition the voters within the state by gathering signatures to get on the General
  Election ballot. The petition process assures that a candidate or party has support among the voters
  before being placed on the ballot. An individual who was a candidate in the primary election may not
  use the nominating petition process to become a candidate on the general election ballot.

                                    West Virginia Code §3­5­23 and §3­5­24




  Rules for Collecting Nominating Petitions

  Your first step
  Before you start collecting signatures, you must obtain official credentials from the county clerk (for
  statewide elections) or town or city recorder (for municipal elections) ­ these credentials will authorize
  you to collect signatures from voters registered in that jurisdiction. You must show your credentials to
  each voter you canvass.

  What forms should I use?
  You may only collect petition signatures on forms provided by the Secretary of State. A completed
  version of the petition heading should be submitted to the Secretary of State for approval before any
  petitions are circulated. All copies of the petition form should be reproduced in identical format. You
  may find all the forms necessary for collecting signatures on our Candidate Filing Forms page under
  the heading "Petitions and Waivers."

  Who can collect signatures?
  In 2002, the legislature adopted a law that no longer requires those collecting signatures to be
  residents of West Virginia.

  Collecting signatures for more than one candidate
  A group of citizens petitioning under the name of a minor party may list multiple candidates on the
  same petition ­ a valid signature will be counted for each candidate listed, as long as the voter signing
  resides in the division where the candidate is seeking nomination.

  Collecting signatures in multiple counties
  You must use separate petition pages for each county in which you collect signatures, and the county
  name should be entered on the petition. This allows the completed petitions to be returned to the
  proper county for verification.

  How many signatures do I need for my name to be on the General Election ballot?
  The completed petitions must contain valid signatures of at least one percent of the entire amount of
  votes cast for the specific office in the previous election for that office; but cannot be less than twenty­
  five. View petition signature requirements by office for the 2016 Election on the chart below.

  Where do I file my nominating petitions and certificate of announcement?
  Secretary of State: candidates for Federal offices, State Senate and House of Delegates, all judicial
  offices except magistrate, and those running for an office in more than one county.

  County Clerk: candidates for an office which is entirely within one county.

  Municipal Recorder: candidates for a municipal office.

  Deadline for filing signatures
  The completed petitions must be filed no later than August 1 preceding the General Election.

  Filing Fees
  Visit the 2016 Offices on the Ballot page for filing fees.

  Signature verification


http://www.sos.wv.gov/elections/candidates-committees/Pages/nopartyafﬁliation.aspx                               1/3
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                                                       Party Candidates
  The county clerks will verify the number of valid signatures you collect within their counties.




                             2016 Petition Signature Requirements

                                                                                Signature
                             Office                              District
                                                                                  Total

                             President                                               6706
                             US Senate                                               6602
                             US House of Representatives                    1        1447
                                                                            2        1543
                                                                            3        1404
                             Governor                                                6645
                             Secretary of State                                      6385
                             Auditor                                                 6196
                             Treasurer                                               6285
                             Commissioner of Agriculture                             6137
                             Attorney General                                        6436
                             Supreme Court of Appeals                                7164
                             State Senate                                   1         395
                                                                            2         295
                                                                            3         335
                                                                            4         398
                                                                            5         281
                                                                            6         350
                                                                            7         260
                                                                            8         365
                                                                            9         345
                                                                         10           269
                                                                         11           376
                                                                         12           292
                                                                         13           368
                                                                         14           277
                                                                         15           357
                                                                         16           386
                                                                         17           284
                             House of Delegates                             1         93
                                                                            2         48
                                                                            3         116
                                                                            4         91
                                                                            5         42
                                                                            6         37
                                                                            7         37
                                                                            8         47
                                                                            9         46
                                                                         10           143
                                                                         11           43
                                                                         12           50
                                                                         13           91
                                                                         14           44
                                                                         15           53
                                                                         16           108
                                                                         17           85
                                                                         18           46

http://www.sos.wv.gov/elections/candidates-committees/Pages/nopartyafﬁliation.aspx                  2/3
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                                                       Party Candidates
                                                                         19          81
                                                                         20          40
                                                                         21          33
                                                                         22          71
                                                                         23          48
                                                                         24          45
                                                                         25          41
                                                                         26          24
                                                                         27          156
                                                                         28          95
                                                                         29          49
                                                                         30          52
                                                                         31          45
                                                                         32          122
                                                                         33          45
                                                                         34          43
                                                                         35          199
                                                                         36          137
                                                                         37          38
                                                                         38          44
                                                                         39          48
                                                                         40          43
                                                                         41          51
                                                                         42          94
                                                                         43          97
                                                                         44          41
                                                                         45          41
                                                                         46          52
                                                                         47          51
                                                                         48          174
                                                                         49          48
                                                                         50          147
                                                                         51          187
                                                                         52          37
                                                                         53          40
                                                                         54          39
                                                                         55          49
                                                                         56          37
                                                                         57          37
                                                                         58          45
                                                                         59          47
                                                                         60          40
                                                                         61          36
                                                                         62          35
                                                                         63          35
                                                                         64          27
                                                                         65          42
                                                                         66          40
                                                                         67          51




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